Case 1:19-ap-01020       Doc 19      Filed 09/13/19 Entered 09/13/19 16:14:50       Desc Main
                                    Document      Page 1 of 11


                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF RHODE ISLAND

In re: Kim Ziegelmayer                                    Chapter 7
               Debtor                                     No. 17-11357

Charles A. Pisaturo, Jr., Trustee
               Plaintiff
                                                   :
                   VS.                             :      AP NO. 19-01020
                                                   :
Sunflower Real Estate, LLC;
Kim Ziegelmayer, and Linda L. Glynn
                Defendants

  ANSWER OF DEFENDANTS, SUNFLOWER REAL ESTATE, LLC AND LINDA L.
          GLYNN TO COMPLAINT IN ADVERSARY PROCEEDING

       Now come the Defendants in the above entitled matter and file their Answer as follows:

       1. Admit

       2. Admit

       3. Admit

       4. Admit

       5. Admit

       6. Admit

       7. Admit

       8. Admit

       9. Admit

       10. Admit

       11. Admit

       12. Defendants neither admit nor deny the allegations contained in Paragraph 12 of

the Plaintiff’s Complaint and leave Plaintiff to his burden of proof.
Case 1:19-ap-01020       Doc 19     Filed 09/13/19 Entered 09/13/19 16:14:50         Desc Main
                                   Document      Page 2 of 11


       13. Admit

       14. Admit

       15. Admit

       16. Admit

       17. Admit

       18. Admit

       19. Admit

       20. Defendants neither admit nor deny the allegations contained in Paragraph 20 of

the Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       21. Admit

       22. Admit

       23. Admit

       24. Defendants neither admit nor deny the allegations contained in Paragraph 24 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       25. Admit

       26. Defendants neither admit nor deny the allegations contained in Paragraph 26 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       27. Defendants neither admit nor deny the allegations contained in Paragraph 27 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       28. Admit

       29. Admit


                                                 2
Case 1:19-ap-01020       Doc 19     Filed 09/13/19 Entered 09/13/19 16:14:50         Desc Main
                                   Document      Page 3 of 11


       30. Defendants neither admit nor deny the allegations contained in Paragraph 30 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       31. Admit

       32. Admit

       33. Admit

       34. Defendants neither admit nor deny the allegations contained in Paragraph 34 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       35. Defendants neither admit nor deny the allegations contained in Paragraph 35 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       36. Defendants neither admit nor deny the allegations contained in Paragraph 36 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       37. Admit

       38. Defendants neither admit nor deny the allegations contained in Paragraph 38 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       39. Defendants neither admit nor deny the allegations contained in Paragraph 39 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       40. Defendants neither admit nor deny the allegations contained in Paragraph 40 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       41. Defendants neither admit nor deny the allegations contained in Paragraph 41 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

       42. Admit

       43. Admit


                                                 3
Case 1:19-ap-01020         Doc 19    Filed 09/13/19 Entered 09/13/19 16:14:50           Desc Main
                                    Document      Page 4 of 11


          44. Defendants neither admit nor deny the allegations contained in Paragraph 44 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          45. Defendants neither admit nor deny the allegations contained in Paragraph 45 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          46. Admit

          47. Defendants neither admit nor deny the allegations contained in Paragraph 47 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          48. Admit

          49. Admit

          50. Admit

          51. Defendants neither admit nor deny the allegations contained in Paragraph 51 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          52. Defendants neither admit nor deny the allegations contained in Paragraph 52 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

                                             COUNT I
                          Declaratory Judgment, Turnover & Accounting
                      (Debtor’s Estate has an Equitable Interest in Sunflower)

          53. Defendants repeats answers to paragraphs 1-52 of this Complaint as if fully rewritten

herein.

          54. Admit

          55. Defendants neither admit nor deny the allegations contained in Paragraph 55 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.




                                                  4
Case 1:19-ap-01020         Doc 19    Filed 09/13/19 Entered 09/13/19 16:14:50           Desc Main
                                    Document      Page 5 of 11


          56. Defendants neither admit nor deny the allegations contained in Paragraph 56 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          57. Defendants neither admit nor deny the allegations contained in Paragraph 57 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          58. Admit

          59. Admit

          60. Defendants neither admit nor deny the allegations contained in Paragraph 60 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          61. Defendants neither admit nor deny the allegations contained in Paragraph 61 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          62. Defendants neither admit nor deny the allegations contained in Paragraph 62 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          63. Defendants neither admit nor deny the allegations contained in Paragraph 63 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

                                            COUNT II
                                    (Against Defendant Glynn)

          64. Defendants repeats answers to paragraphs 1-63 of this Complaint as if fully rewritten

herein.

          65. Defendants neither admit nor deny the allegations contained in Paragraph 65 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.

          66. Defendants neither admit nor deny the allegations contained in Paragraph 66 of the

Plaintiff’s Complaint and leave Plaintiff to his burden of proof.



                                                  5
Case 1:19-ap-01020       Doc 19       Filed 09/13/19 Entered 09/13/19 16:14:50         Desc Main
                                     Document      Page 6 of 11


                                  AFFIRMATIVE DEFENSES

       1. Accord and satisfaction

       2. Assumption of the risk

       3. Estoppel

       4. Failure of consideration

       5. Illegality

       6. Laches

       7. License

       8. Statute of Frauds

       9. Waiver

       10. Failure to state a claim upon which relief may be granted.

       11. Failure to name an indispensable party, Mauro Poletti.

            LINDA GLYNN’S CROSS- CLAIM AGAINST KIM ZIEGELMAYER
             (BREACH OF CONTRACT AND FRAUD IN THE INDUCEMENT)

       1. In 2014 Linda Glynn formed Sunflower Real Estate, LLC. (hereinafter Sunflower) at

the direction of Kim Ziegelmayer.

       2. Linda Glynn was established as the sole member of Sunflower Real Estate, LLC. at the

sole direction of Kim Ziegelmayer.

       3. Kim Ziegelmayer knowingly represented to Linda Glynn, that Sunflower was

organized for the purpose of executing Real Estate transactions for profit, and agreed that Linda

Glynn would earn commission for all acquisitions and sales of Sunflower real estate.

       4. Linda Glynn reasonably relied on the representations of Kim Ziegelmayer and



                                                6
Case 1:19-ap-01020       Doc 19     Filed 09/13/19 Entered 09/13/19 16:14:50              Desc Main
                                   Document      Page 7 of 11


terminated her salaried employment to commit her time and effort to the Sunflower venture.

       5. Rather than purposely pursuing real estate transactions in a business like manner as

agreed, Kim Zeigelmayer intentionally used the funds of Sunflower for her personal benefit,

including but not limited to utilizing Waterman Avenue as her rent free residence.

       6. Kim Ziegelmayer breached her agreement to operate Sunflower as a “for profit”

business and failed to pursue real estate transactions to the detriment of Linda Glynn.

       7. Kim Ziegelmayer fraudulently induced Linda Glynn to forgo her regular employment

and dedicate her time and effort to Sunflower to her financial detriment.

       8. As a result of Kim Ziegelmayer’s fraudulent inducement and breach of agreement,

Linda Glynn has been harmed.

       WHEREFORE, Cross Claimant seeks judgment for damages against Kimberly

Ziegelmayer, court costs and reasonable attorney fees.

                                                     Respectfully Submitted,
                                                     LINDA GLYNN
                                                     SUNFLOWER REAL ESTATE, LLC
                                                     By their attorney,

                                                     /s/ Stacy B. Ferrara
                                                     Stacy B. Ferrara, Esq (#4344)
                                                     Nolan Brunero, Cronin & Ferrara, Ltd.
                                                     1070 Main Street
                                                     Coventry, RI 02816
                                                     (401) 828-5800 (Tel)
Dated: September 13, 2019                            (401) 823-3230 (Fax)




                                                 7
Case 1:19-ap-01020         Doc 19     Filed 09/13/19 Entered 09/13/19 16:14:50           Desc Main
                                     Document      Page 8 of 11


In re: Kim Ziegelmayer                                         Chapter 7
               Debtor                                          No. 17-11357

Charles A. Pisaturo, Jr., Trustee
               Plaintiff
                                                       :
                    VS.                                :       AP NO. 19-01020
                                                       :
Sunflower Real Estate, LLC;
Kim Ziegelmayer, and Linda L. Glynn
                Defendants

Sunflower Real Estate, LLC and
Linda L. Glynn
                Third Party Plaintiff

                    VS.
Mauro Poletti
                    Third Party Defendant

                          THIRD PARTY COMPLAINT OF LINDA GLYNN
                                  AGAINST MAURO POLETTI

          1. Linda Glynn is a resident of the State of Rhode Island and sole member of Sunflower

Real Estate, LLC.

          2. Sunflower Real Estate, LLC is an entity organized and resident in the State of Rhode

Island.

          3. Mauro Poletti is a resident of Warwick Farm, NSW 2170, Australia.

          4. This court has personal jurisdiction over Mauro Poletti as he has voluntarily subjected

himself to the Jurisdiction of the State of Rhode Island.

          5. The subject matter of this Third Party Complaint is a core Proceeding pursuant to

11U.S.C.§157.

          6. Venue is proper in this Court pursuant to 28 U.S.C.§ 1409.



                                                   8
Case 1:19-ap-01020       Doc 19     Filed 09/13/19 Entered 09/13/19 16:14:50             Desc Main
                                   Document      Page 9 of 11


       7. On or about September 26, 2017, Kim Ziegelmayer directed Linda Glynn to deliver to

her a check made payable to Attorney Tudino in the amount of $34,230.58, purporting to be the

remainder of the funds on hand at that time in the Sunflower bank accounts,(“the Check”).

       8. As directed, Linda Glynn delivered the Check drawn on the Sunflower account and

made payable to Attorney Joseph Tudino of Providence, to Kimberly Ziegelmayer.

       9. Upon information and belief, Attorney Tudino represents Mauro Poletti.

       10. Upon information and belief, the Check was delivered to Attorney Tudino and it was

deposited by Attorney Tudino into a bank account in the name of the “MP Revocable Trust” for

the benefit of Mauro Poletti.

       11. The First Party Plaintiff Trustee is seeking turnover of the assets of Sunflower from

Linda Glynn and Sunflower.

       12. To the extent Third Party Plaintiff, Linda Glynn has turned over the assets of

Sunflower to Mauro Poletti at the direction of Kim Ziegelmayer, Mauro Poletti is responsible for

turnover of those assets to the First Party Plaintiff and//or indemnification of Linda Glynn for the

amount of the check.

       WHEREFORE, Third Party Plaintiff seeks judgment ordering Mauro Poletti to turnover

the Sunflower Real Estate, LLC. funds in his possession to the First Party Plaintiff Trustee, or

indemnify Linda Glynn should this Court order her to reimburse the First Party Plaintiff Trustee.




                                                 9
Case 1:19-ap-01020    Doc 19    Filed 09/13/19 Entered 09/13/19 16:14:50       Desc Main
                               Document     Page 10 of 11


                                               Respectfully Submitted,

                                               LINDA GLYNN
                                               SUNFLOWER REAL ESTATE, LLC
                                               By their attorney,

                                               /s/ Stacy B. Ferrara
                                               Stacy B. Ferrara, Esq (#4344)
                                               Nolan Brunero, Cronin & Ferrara, Ltd.
                                               1070 Main Street
                                               Coventry, RI 02816
                                               (401) 828-5800 (Tel)
Dated: September 13, 2019                      (401) 823-3230 (Fax)




                                          10
Case 1:19-ap-01020       Doc 19      Filed 09/13/19 Entered 09/13/19 16:14:50          Desc Main
                                    Document     Page 11 of 11


                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF RHODE ISLAND

In re: Kim Ziegelmayer                                      Chapter 7
               Debtor                                       No. 17-11357

Charles A. Pisaturo, Jr., Trustee
               Plaintiff
                                                     :
                  VS.                                :      AP NO. 19-01020
                                                     :
Sunflower Real Estate, LLC;
Kim Ziegelmayer, and Linda L. Glynn
                Defendants
Sunflower Real Estate, LLC and
Linda L. Glynn
                Third Party Plaintiff

                  VS.
Mauro Poletti
                  Third Party Defendant


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2019, I electronically filed a Answer and Cross Claim
of Defendants, Sunflower Real Estate, LLC and Linda L. Glynn to Plaintiff’s Complaint and
Third Party Complaint with the Clerk of the Bankruptcy Court for the District of Rhode Island using
the CM/ECF System. The following participants have received notice electronically: US Trustee,
Charles A. Pisaturo; Peter J. Furness; and Christopher Lefebvre; and I hereby certify that I have
mailed by United States Postal Service, postage pre-paid, the document and a copy of the Notice of
Electronic Filing to the following non CM/ECF participants:

Mauro Poletti
Warwick Farm
NSW 2170, Australia

                                                     /s/ Stacy B. Ferrara




                                                11
